       Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 1 of 18                   FILED
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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                       NORTHEASTERN DIVISION

UNITED STATES OF AMERICA, )
                            )
    Plaintiff,              )
                            )
vs.                         )                 Civil Action No. 5:18-cv-1055-CLS
                            )
RANDY HAMES and HAMES       )
MARINA, L.L.C., d/b/a HAMES )
MARINA AND MOBILE HOME )
PARK,                       )
                            )
    Defendants.             )

                              PRETRIAL ORDER

      A pretrial conference was held in this action on October 30, 2023, wherein, or

as a result of which, the following proceedings were held and action taken:

      1. Appearances. The attorneys who appeared at the conference were:

      Elise Sandra Shore        United States Department of Justice, Civil Rights
      Alan A. Martinson         Division, Housing and Civil Enforcement Section
                                950 Pennsylvania Ave. N.W.
                                Washington, D.C. 20530

      Carla C. Ward            Office of the United States Attorney for the
      Jason R. Cheek           Northern District of Alabama
                               1801 4th Avenue North
                               Birmingham, Alabama 35203

      Gregory F. Yaghmai       Yaghmai Law, L.L.C.
                               2081 Old Columbiana Road
                               Birmingham, Alabama 35216
            Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 2 of 18




        Kile T. Turner                  Norman Wood Kendrick & Turner
                                        1130 22nd Street South, Suite 3000
                                        Birmingham, Alabama 35205

        2. Jurisdiction and venue. Jurisdiction exists under 28 U.S.C. § 1331,1 §

1345,2 and 42 U.S.C. § 3601 et seq. (i.e., Title VIII of the Civil Rights Act of 1968,

as amended by the Fair Housing Amendments Act of 1988 (“Fair Housing Act”)).

See also, e.g., 42 U.S.C. § 3614(a).3 Personal jurisdiction and venue are not

contested.

        3. Parties and trial counsel. The parties before the court are correctly named,

and the designated trial counsel for each are, as set out below:

                 PARTIES                                         TRIAL COUNSEL

Plaintiff, United States of America:

        Elise Sandra Shore              U.S. Department of Justice, Civil Rights Division,
                                        Washington, D.C. 20530

        Alan A. Martinson               Same as above


        1
         “The district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.
        2
        “[T]he district courts shall have original jurisdiction of all civil actions, suits or proceedings
commenced by the United States, or by any agency or officer thereof expressly authorized to sue by
Act of Congress.” 28 U.S.C. § 1345 (alteration supplied).
        3
         “Whenever the Attorney General has reasonable cause to believe that any person or group
of persons is engaged in a pattern or practice of resistance to the full enjoyment of any of the rights
granted by this subchapter, or that any group of persons has been denied any of the rights granted by
this subchapter and such denial raises an issue of general public importance, the Attorney General
may commence a civil action in any appropriate United States district court.” 42 U.S.C. § 3614(a).

                                                    2
           Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 3 of 18




       Carla C. Ward                 Assistant United States Attorney, Northern District
                                     of Alabama, Birmingham, Alabama 35205

       Jason R. Cheek                Same as above

Defendants, Randy Hames and Hames Marina, L.L.C.:

       Gregory F. Yaghmai            Yaghmai Law, L.L.C.
                                     Birmingham, Alabama 35216

       Kile T. Turner                Norman Wood Kendrick & Turner
                                     Birmingham, Alabama 35205

       4. Pleadings. The following pleadings, with the modifications contained in

this order, have been allowed: complaint (doc. no. 1); answer of both defendants

(doc. no. 20); memorandum opinion addressing pending motions (doc. no. 189); and,

orders entered in accordance with the foregoing opinion (doc. no. 190).

       5. Statement of the case.

                (a) Agreed summary of undisputed facts.4

       1. Randy Hames owned and managed “Hames Marina and Mobile Home Park”

located at 670 County Road 248 in Cullman, Alabama 35057, from at least January

1, 2008, until March 9, 2018.

       4
         Compare doc. no. 1 (Complaint), ¶¶ 5, 9 with doc. no. 20 (Defendants’ Answer), ¶¶ 5, 9
(admitting). See also, e.g., doc. no. 136 (United States’ Memorandum in Support of Motion for
Partial Summary Judgment), at 5, ¶ 14 (“From 2008 until March 2018, Randy Hames was the sole
Hames Marina property manager.”) (citing, inter alia, doc. no. 62, ¶ 5 (Answer filed in Tomeka
Bartlett and Kayla Carreker v. Randy Allan Hames et al., Civil Action No. 5:18-cv-1096-CLS));
doc. no. 129-6 (Business Entity Record, Alabama Secretary of State); “Stipulations” included in ¶¶
5(b)(1)–(4), at 4 of proposed Pretrial Order submitted by the parties on October 25, 2023.

                                                3
            Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 4 of 18




        2. The land, some of the mobile homes, and the related buildings located on

the land that comprised the marina and mobile home park, were all owned by Randy

Hames personally. Some tenants rented lots at the mobile home park, and placed

their own mobile homes on the lots.

        3. From approximately October of 2007 until its dissolution in 2018, Randy

Hames was the sole member and owner of “Hames Marina and Mobile Home Park.”

        4. As property manager, Randy Hames had sole and final decision-making

authority to act on behalf of “Hames Marina and Mobile Home Park.”5

                 (b) Plaintiff’s positions.

                        (i) Factual contentions.

        The United States contends that, since at least 2011, defendant Randy Hames

subjected female tenants of residential rental property in Hames Marina and Mobile

Home Park to discrimination on the basis of sex, including severe, pervasive, and

unwelcome sexual harassment, on multiple occasions. Such conduct allegedly

included, but was not limited to:

        a. Demanding that female tenants engage in, or pressuring them to

        5
         Compare doc. no. 1 (Complaint), ¶ 9 (asserting that, “[a]t all times relevant to this action,
Defendant [Randy] Hames controlled all aspects of the management of the [rental properties located
in Hames Marina and Mobile Home Park] including, but not limited to, recruiting prospective
tenants, accepting or rejecting prospective tenants, setting rates for rent and security deposits,
collecting rent, accepting requests for repairs, and evicting tenants”) (alterations supplied)) with doc.
no. 20 (Defendants’ Answer), ¶ 9 (admitting).

                                                   4
       Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 5 of 18




         engage in[,] oral sex or other sexual acts with him [in order] to obtain
         or keep rental housing;

      b. Subjecting female tenants to unwelcome sexual contact, including
         but not limited to hugging female tenants, touching (or attempting to
         touch) female tenants’ bodies, and rubbing his body against female
         tenants’ bodies;

      c. Offering to grant tangible housing benefits — such as reducing or
         excusing rent payments, late payments, or deposit amounts — in
         exchange for engaging in sexual acts with him;

      d. Making intrusive, unannounced visits to female tenants’ homes for
         no apparent legitimate purposes and to further his sexual advances;

      e. Menacing female tenants by repeatedly parking for extended periods
         of time in front of their homes when he had no apparent legitimate
         reason to do so;

      f. Making unwelcome sexual comments, propositions, and sexual
         advances to female tenants; and

      g. Taking adverse housing actions, such as evicting or refusing to make
         repairs, or threatening to take such actions, against female tenants
         who have objected to his unwelcome sexual advances and/or refused
         to engage in sexual acts with him.

Doc. no. 1 (Complaint), ¶¶ 10(a)-(g) (alterations supplied).

                   (ii) Damages sought from the jury

      The United States seeks compensatory and punitive damages on behalf of

fourteen former female tenants of Hames Marina and Mobile Home Park who contend

that Randy Hames sexually harassed them when each resided at the Mobile Home


                                          5
           Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 6 of 18




Park. The aggrieved females on whose behalf the United States commenced suit are:

Ashley Bartlett; Crystal Bee; Michelle Christian; Karanda Gann; Shaela Gann;

Amberly Green; Brittaney Lands; Tonya Ramos (now known as Tonya Sellers); Jamie

Rodgers (now known as Jamie Russell); Amanda Shearin; Doris Marie Watson;

Tammy Wright; Vicky Wright; and, Julia Wylie.6

       The United States contends that compensatory damages are warranted for the

emotional distress suffered by those aggrieved persons, including interference with

housing rights, invasion of privacy, loss of security, and anxiety, anger, fear, shame,

humiliation, degradation, embarrassment, and/or frustration.7

       The United States also contends that punitive damages are warranted because

Randy Hames’s actions were intentional, willful, and/or taken in reckless disregard

for the rights of others.8

                      (iii) Damages sought from the Court

       If the jury should find that Randy Hames violated the Fair Housing Act, the

United States also will ask the Court to impose a civil penalty against him, to

vindicate the public interest. See 42 U.S.C. § 3614(d)(1)(C); 28 C.F.R. § 85.5
       6
          The anticipated testimony of each aggrieved person is summarized infra, in “Exhibit A” to
this Pretrial Order.
       7
         The precise amount needed to compensate the aggrieved persons for the emotional distress
suffered by each will be determined by the jury.
       8
          The precise amount of punitive damages needed to adequately punish Randy Hames, and
to deter others from engaging in similar conduct, also will be determined by the jury.

                                                6
           Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 7 of 18




(increasing the maximum civil penalty permitted).

       The United States also will ask for declaratory and injunctive relief under 42

U.S.C. § 3614(d)(1)(A), including an injunction permanently enjoining Randy Hames

from engaging in discrimination on the basis of sex, and directing him to take actions

(or to refrain from taking actions) necessary to prevent the recurrence of the

discriminatory conduct in the future and to eliminate the effects of the unlawful

conduct.9

                      (iv) Government’s legal contentions.

       The United States contends that it is entitled to recover upon the following

theories:

       (a) Defendants’ conduct constituted a denial of housing, or otherwise made a

dwelling unavailable, because of sex, in violation of § 3604(a) of the Fair Housing

Act (42 U.S.C. § 3604(a));

       (b) Defendants’ conduct constituted discrimination in the terms, conditions,

or privileges of rental of a dwelling, or in the provision of services or facilities in

connection therewith, because of sex, in violation of § 3604(b) of the Fair Housing

Act;



       9
         See doc. no. 189 (Memorandum Opinion), at 15-20 (holding that the Government’s claim
for injunctive relief was not moot).

                                             7
       Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 8 of 18




      (c) Defendants’ conduct constituted the making of statements with respect to

the rental of a dwelling that indicated a preference, limitation, or discrimination based

on the sex of the tenant (female), in violation of § 3604(c) of the Fair Housing Act;

      (d) Defendants’ conduct constituted coercion, intimidation, or interference

with a person in the exercise or enjoyment of, or on account of having exercised or

enjoyed, her rights granted or protected by the Fair Housing Act, in violation of §

3617 of that Act;

      (e) Defendants’ conduct constituted a pattern or practice of resistance to the

full enjoyment of the rights granted by § 3614(a) of the Fair Housing Act; and

      (f) Defendants’ conduct constituted a denial of fair housing rights to a group

of persons, in violation of § 3614(a) of the Fair Housing Act.

             (c) Defendants’ positions.

      Defendants deny the Government’s contentions.

      6. Discovery and other pretrial procedures.

             (a) Discovery is closed.

             (b) The pretrial procedures specified in “Exhibit B” are adopted as part
                 of this Order.

             (c) Pending motions: There are no pending motions.

      7. Jury Trial. Seven days prior to trial, the parties shall present to the court


                                           8
       Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 9 of 18




any special questions or topics for voir dire examination of the jury venire, and, to the

extent the same can be anticipated, any requests for instructions to the jury (including

extracts of any statutes on which instructions are requested). Any motions in limine

must be filed at least 21 days prior to trial.

      8. Trial Date. This case is set for trial in Huntsville, Alabama, on the 29th day

of January, 2024, at 9:30 o’clock a.m. Counsels’ estimated length of trial: five to

seven days.

      ORDERED this 31st day of October, 2023, that the foregoing provisions are

binding upon all parties, unless modified by further order for good cause shown.




                                                 ______________________________
                                                 Senior United States District Judge




                                            9
      Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 10 of 18




                                  EXHIBIT A
        ANTICIPATED TESTIMONY OF AGGRIEVED PERSONS

      1. Ashley Bartlett will testify that, when she resided at Hames Marina and

Mobile Home Park (“Hames Marina”), beginning in approximately late June 2017,

Randy Hames’s sexual harassment included unwelcome sexual advances, unwelcome

sexual/physical contact, unwelcome sexual comments, and at least one intrusive,

unannounced visit to her home.

      2. Crystal Bee will testify that, when she resided at Hames Marina, beginning

in approximately late 2013, Randy Hames sexually harassed her. His harassment

included unwelcome sexual advances (requests for oral sex), unwelcome

sexual/physical contact, unwelcome sexual comments, and intrusive, unannounced

visits to her home once when she was showering.

      3. Michelle Christian will testify that Randy Hames sexually harassed her

when she applied to reside at Hames Marina in or around late 2010 or early 2011. The

harassment included unwelcome sexual advances (request for sex), unwelcome

sexual/physical contact, and unwelcome sexual comments.

      4. Karanda Gann will testify that Randy Hames sexually harassed her during

the approximately six-month period that she resided at Hames Marina, beginning in

the summer of 2008. The harassment included unwelcome sexual advances (requests


                                        10
      Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 11 of 18




for oral sex), unwelcome sexual/physical contact, unwelcome sexual exposure,

unwelcome sexual comments, and adverse housing actions against Ms. Gann and her

sister, Shaela Gann, after she refused his sexual advances and reported his conduct

to law enforcement (i.e., the Cullman County Sheriff’s Department). Randy Hames’s

harassment also included masturbating in front of Ms. Gann.

      5. Shaela Gann will testify that Randy Hames sexually harassed her when she

resided at Hames Marina for a few months in 2008. The harassment included

unwelcome sexual comments and adverse housing actions against Ms. Gann and her

sister, Karanda Gann, after Karanda Gann refused Randy Hames’s sexual advances

and reported the conduct to law enforcement (i.e., the Cullman County Sheriff’s

Department).

      6. Amberly Green will testify that Randy Hames sexually harassed her when

she resided at Hames Marina for approximately four or five months, beginning in July

of 2014. The harassment included unwelcome sexual advances (requests for oral

sex), unwelcome sexual/physical contact, unwelcome sexual comments, and adverse

housing actions against Ms. Green after she refused Randy Hames’s sexual advances.

On more than one occasion, Randy Hames also parked in front of Ms. Green’s home

for no apparent legitimate reason, awaiting her arrival.

      7. Brittaney Lands will testify that Randy Hames sexually harassed her when

                                         11
      Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 12 of 18




she resided at Hames Marina for a few months in the spring of 2015. The harassment

included an unwelcome sexual advance (request for oral sex), unwelcome

sexual/physical contact, unwelcome sexual exposure, and adverse housing actions

against Ms. Lands after she refused his sexual advance.

      8. Tonya Ramos (now known as Tonya Sellers) will testify that Randy Hames

sexually harassed her when she resided at Hames Marina in or around approximately

2011. Mr. Hames made inappropriate sexual advances, and repeatedly told her she

could keep her money if she engaged in sexual acts with him. Randy Hames also

frequently parked his car in the front and back yard of her home, sitting in his vehicle

and surveilling her home for extended periods of time. Randy Hames also peered into

the window of Ms. Ramos’s home.

      9. Jamie Rodgers (now known as Jamie Russell) will testify that Randy

Hames sexually harassed her when she resided at Hames Marina in approximately

2012 and 2013. The harassment included unwelcome sexual advances, unwelcome

sexual comments, intrusive, unannounced visits to her home, and adverse housing

actions against Ms. Rodgers after she refused his sexual advances. After Randy

Hames evicted her, he continued to harass her by coming to her workplace to pick up

payments he claimed Ms. Rodgers owed him.

      10. Amanda Shearin will testify that Randy Hames sexually harassed her

                                          12
      Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 13 of 18




when she resided at Hames Marina for approximately one year, beginning in late

2015. The harassment included unwelcome sexual advances, including requests for

oral sex in exchange for help with rent, unwelcome sexual/physical contact,

unwelcome sexual comments, and at least one intrusive, unannounced visit to her

home. Randy Hames also frequently parked outside Ms. Shearin’s home and stared

at her home for no apparent legitimate purpose. After Randy Hames evicted Ms.

Shearin, he continued to harass her by offering to waive the money she owed him if

she agreed to engage in sexual acts with him. After Ms. Shearin refused his

unwelcome sexual advance, Randy Hames pursued garnishment of Ms. Shearin’s

wages.

      11. Doris Marie Watson will testify that Randy Hames sexually harassed her

when she resided at Hames Marina for approximately one year, beginning in August

of 2012. The harassment included unwelcome sexual advances (requests for oral

sex), unwelcome sexual/physical contact, unwelcome sexual comments, and engaging

in an unwanted sexual act. Ms. Watson will also testify that Randy Hames demanded

oral sex and threatened to evict Ms. Watson if she did not comply with his demand.

Ms. Watson was not behind on rent when this occurred. Ms. Watson performed oral

sex because she feared eviction.

      12. Tammy Wright will testify that Randy Hames sexually harassed her when

                                       13
      Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 14 of 18




she resided at Hames Marina for approximately six months, beginning in late 2010.

The harassment included unannounced visits to her home, unwelcome sexual/physical

contact, unwelcome sexual advances, including requests for her to go with him to his

home in exchange for help with rent, and threats of adverse housing action after she

told Mr. Hames’s then-girlfriend about his sexual advances.

      13. Vicky Wright will testify that Randy Hames sexually harassed her when

she resided at Hames Marina for approximately four days in August or September of

2010. The harassment included intrusive, unannounced visits to her home, once

when she was sleeping.

      14. Julia Wylie will testify that Randy Hames sexually harassed her when she

resided at Hames Marina for approximately six months, beginning in 2010. Randy

Hames frequently drove by Ms. Wylie’s home and stared at her for no apparent

legitimate purpose. He also went to her work and followed her home from work,

ostensibly to collect rent. Randy Hames’s harassment also included at least one

intrusive, unannounced visit to her home. Before Ms. Wylie moved out of Hames

Marina, Randy Hames offered to forgive money that he claimed she owed him in

exchange for sexual favors. Ms. Wylie refused this unwelcome sexual advance.

After she moved out of Hames Marina, Randy Hames filed a small claims action

against her and continued to go to her work and tried to follow her to her new home.

                                        14
       Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 15 of 18




                                     EXHIBIT B
                    STANDARD PRETRIAL PROCEDURES

       1. Damages. The parties shall, at least 21 days prior to trial, serve and file a

list itemizing all damages and equitable relief being claimed or sought, showing the

amount (and, where applicable, the method and basis of computation) of such items.

       2. Witnesses — Exchange of Lists:

              (a) Expert witnesses — To the extent the parties have not previously

complied with Fed. R. Civ. P. 26(a)(2), the parties shall, at least 21 days prior to trial,

serve and file a list stating the names and addresses of all expert witnesses who have

been identified in accordance with the report of the parties’ planning meeting under

Fed. R. Civ. P. 26(f) and in accordance with earlier orders and whose testimony they

may offer at trial. The list shall include, to the extent not previously provided, the

information specified in Fed. R. Civ. P. 26(a)(2)(B) with respect to any such person

other than a medical expert.

              (b) Other witnesses — To the extent the parties have not previously

complied with Fed. R. Civ. P. 26(a)(3), the parties shall, at least 21 days prior to trial,

serve and file a list stating the names and addresses of all witnesses (other than expert

witnesses) whose testimony they may offer at trial.

              (c) Contents of lists — The parties shall appropriately indicate on such


                                            15
       Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 16 of 18




lists (1) which persons are their “primary witnesses” (those whose testimony they

expect to offer, absent a favorable ruling on summary judgment, directed verdict, or

involuntary dismissal), (2) which persons are their “optional witnesses” (those whose

testimony will probably not be needed, but who have been listed to preserve their

right to offer such testimony should the need arise in the light of developments at

trial), and (3) which of their primary and optional witnesses they expect to present by

means of deposition.

       Unless specifically agreed by the parties or allowed by the court for good cause

shown, the parties shall be precluded from offering substantive evidence through any

witness not so listed. The listing of a witness does not commit the party to have such

witness available at trial, or to call such witness to testify, but does preclude the party

from objecting to the presentation of such witness’s testimony by another party. As

to any witnesses shown on such list to be presented by deposition, a party may serve

and file a list disclosing any objections to the use under Rule 32(a) of a deposition

designated by another party pursuant to the foregoing or under Fed. R. Civ. P.

26(a)(3)(B). Objections not so disclosed, other than objections under Rules 402 and

403 of the Federal Rules of Evidence, shall be deemed waived, unless excused by the

court for good cause shown.

       3. Exhibits.

                                            16
      Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 17 of 18




             (a) Exchange of lists — To the extent the parties have not previously

complied with Fed. R. Civ. P. 26(a)(3)(C), the parties shall, at least 21 days prior to

trial, serve and file a list providing an appropriate identification of each document or

other exhibit, including summaries of other evidence, separately identifying those

which the party expects to offer and those which the party may offer if the need

arises. As to any document or other exhibit, including summaries of other evidence

shown on such list, a party may serve and file a list disclosing any objection at least

ten days prior to trial, together with the grounds therefor, that may be made to the

admissibility of materials identified on such list. Objections not so disclosed, other

than objections under Rules 402 and 403 of the Federal Rules of Evidence, shall be

deemed waived unless excused by the court for good cause shown.                 Unless

specifically agreed by the parties or allowed by the court for good cause shown, the

parties shall be precluded from offering as substantive evidence any exhibit not so

identified. Except where beyond the party’s control or otherwise impractical (e.g.,

records from a third-party obtained by subpoena), each party shall make such exhibits

available for inspection and copying.

             (b) Marking — Each party which anticipates offering as substantive

evidence as many as six exhibits shall premark such exhibits in advance of trial, using

exhibit labels and exhibit lists available from the Clerk of Court. By the time the case

                                          17
      Case 5:18-cv-01055-CLS Document 204 Filed 10/31/23 Page 18 of 18




is scheduled for trial, a copy of the exhibit list shall be served and filed, with the

exhibits being made available for inspection by opposing counsel; the presentation

of evidence at trial shall not ordinarily be interrupted for opposing counsel to examine

a document that has been so identified and made available for inspection.




                                          18
